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16
                                   UNITED STATES DISTRICT COURT
17
                                        DISTRICT OF NEVADA
18
       Cung Le, Nathan Quarry, Jon Fitch, Brandon       Case No.: 2:15-cv-01045-RFB-(BNW)
19     Vera, Luis Javier Vazquez, and Kyle
       Kingsbury on behalf of themselves and all
20     others similarly situated,                       INDEX OF EXHIBITS IN
                                                        SUPPORT OF DEFENDANT
21                                                      ZUFFA, LLC’S SUPPLEMENTAL
                     Plaintiffs,
              v.                                        BRIEF IN OPPOSITION TO
22
                                                        PLAINTIFFS’ MOTION FOR
23     Zuffa, LLC, d/b/a Ultimate Fighting              CLASS CERTIFICATION
       Championship and UFC,
24
                     Defendant.
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 1                                       APPENDIX OF EXHIBITS

 2              Pursuant to Local Rule IA 10-3(d), Defendant Zuffa, LLC (“Zuffa”) submits this Index of

 3    Exhibits in Support of their Supplemental Brief In Opposition to Plaintiffs’ Motion for Class

 4    Certification. The exhibits noted below are attached as exhibits to the Declaration of Suzanne E.

 5    Nero in Support of Defendant Zuffa, LLC’s Supplemental Brief In Opposition to Plaintiffs’

 6    Motion for Class Certification.

 7      Exhibit                                         Description
 8
           1.        PCCX652 - Steven C. Salop, The Raising Rivals’ Cost Foreclosure Paradigm,
 9                   Conditional Pricing Practices and the Flawed Incremental Price-Cost Test, 81
                     Antitrust L.J. 371 (2017)
10
           2.        Excerpts of Deposition of Hal Singer, Ph.D (“Singer 1st Dep.”) (September 27,
11                   2017)
12         3.        PCCX604 - Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis
                     of Antitrust Principles and Their Application (4th ed. 2017)
13
           4.        ZCCX201 - Ex 99 Motion for Summary Judgment
14

15         5.        JCCX39 - David Autor, David Dorn, Lawrence Katz, Christina Patterson, & John
                     Van Reenen, Concentrating on the Fall of the Labor Share, 107(5) American
16                   Economic Review: Papers & Proceedings 180 (2017)

17         6.        PCCX644 - Simcha Barkai, Declining Labor and Capital Shares (U. of Chicago,
                     New Working Paper Series No. 2, 2016), available at
18                   https://research.chicagobooth.edu/~/media/5872fbeb104245909b8f0ae8a84486c9.p
                     df
19
           7.        JCCX56 - Gerald W. Scully, Player Salary Share and the Distribution of Player
20
                     Earnings, 25(2) Managerial and Decision Economics 77 (2004)
21
           8.        PCCX549 - Lawrence M. Kahn, The Sports Business as a Labor Market
22                   Laboratory, 14 Journal of Economic Perspectives 81 (2000)

23         9.        Excerpts of Deposition of Alan Manning (“Manning Dep.”) (February 8, 2018)

24         10.       JCCX72 - Richard McGowan & John Mahon, Demand for the Ultimate Fighting
                     Championship: An Econometric Analysis of PPV Buy Rates, 6(6) Journal of
25                   Business & Economics 1032 (2015)
26         11.       ABAI Phishing Scam Alert re: Academic Star Publishing Company
27
           12.       Academic Star Publishing Journal of Business and Economics Website
28
                                                      1
          Index of Exhibits in Support of Defendant Zuffa’s Supplemental Brief In Opposition to
                                 Plaintiffs’ Motion for Class Certification
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 1      Exhibit                                      Description
 2        13.     WorldCat Report for Journal of Business and Economics
 3
          14.     PCCX475 - Errata to the Expert Report of Andrew Zimbalist in Cung Le, et al. v.
 4                Zuffa, LLC

 5        15.     JCCX12 - Explosion Entertainment Strikeforce Event P&L, 3/1/2009 - 2/28/2014
 6                (Excerpt)

 7        16.     Excerpts of Deposition of Andrew Zimbalist, Ph.D (“Zimbalist 2nd Dep.”) (January
                  26, 2018)
 8
          17.     ZCCX279 - Supplemental Expert Report of Edward E. Leamer, Ph.D., filed in In re
 9
                  High-Tech Employees Antitrust Litig., October 1, 2012
10
          18.     ZCCX292 - Weight Data for Foreclosure (Ex. 4 to H. Singer Deposition)
11
          19.     PCCX685 - William M. Boal & Michael R. Ransom, Monopsony in the Labor
12                Market, Journal of Economic Literature (1997).
13        20.     PCCX 531- John Vrooman, Theory of the Perfect Game: Competitive Balance in
                  Monopoly Sports Leagues, 34 Review of Industrial Organization 5 (2009)
14
          21.     Excerpts of Deposition of Hal Singer, Ph.D (“Singer 2nd Dep.”) (January 23, 2018)
15

16        22.     Excerpts to Deposition of Andrew Zimbalist, Ph.D (“Zimbalist 1st Dep.”)
                  (September 25, 2017)
17
          23.     ZCCX249 - Phillip Areeda, Herbert Hovenkamp, Roger D. Blair, & Christine
18                Piette Durrance, Antitrust Law: An Analysis of Antitrust Principles and Their
19                Application (4th ed. 2014), Volume IIA

20        24.     JCCX55 - Gerald W. Scully, Pay and Performance in Major League Baseball,
                  64(6) The American Economic Review 915 (1974)
21

22        25.     ZCCX179 - Andrew Zimbalist, There’s more than meets the eye in determining
                  players’ salary shared, Sports Business Journal (Mar. 10, 2008),
23                https://www.sportsbusinessdaily.com/Journal/Issues/2008/03/10/Opinion/Theres-
24                More-Than-Meets-The-Eye-In-Determining-Players-Salary-Shares.aspx

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          Index of Exhibits in Support of Defendant Zuffa’s Supplemental Brief In Opposition to
                                 Plaintiffs’ Motion for Class Certification
